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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE iei@¢ gm
wEsTERN DIVIsIoN "

 

 

 

BENNY FEATHERSTON,
Plaintiff,

V.

No. 04-2157 Mi/P

cHARMs coMPANY,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
ORDER DENYING PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

 

Before the Court is Defendant's Motion for Summary Judgment,
filed Febrnary 15, 2005. Plaintiff filed an opposition on March
24, 2005. Defendant filed a reply on April 8, 2005. For the
following reasons, Defendant’s motion is GRANTED.

Also before the Court is Plaintiff's Motion for Partial
Summary Judgment, filed March 15, 2005. Defendant filed a
response on April 18, 2005. For the following reasons,
Plaintiff's motion is DENIED.

I. BACKGROUND

The instant case arises out of the termination of
Plaintiff’s employment with Defendant Charms Company, a
confectionary manufacturer located in Covington, Tennessee, for
excessive absenteeism. On March 8, 2004, Plaintiff filed a

complaint alleging that his termination Violated the Family and

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Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. § 2601 et. seq,
because Defendant purportedly refused to allow Plaintiff to
return from leave based upon an FMLA qualifying event.

Plaintiff was employed by Defendant as a Batch Roller/RLM
Operator from February 26, 1999, until his employment was
terminated for excessive absenteeism on January 14, 2003. It is
undisputed that, prior to his termination, Plaintiff had received
six disciplinary warnings for being absent from work. (Def.'s
Mem. in Supp. of Mot. for Summ. J. at 2.)l

On January 8 and 9, 2003, Plaintiff was absent from work.
According to the director of Human Resources for Defendant,
Michael Gray, Plaintiff reported by telephone that he was sick on
those dates. (Id., EX. l, Aff. of Michael Gray (“Gray Aff.”) I
12.)

When Plaintiff arrived to work on his next scheduled work

day, January 13, 2003, Plaintiff handed a doctor's note to his

 

l in his response to Defendant's Motion for Summary
Judgment, Plaintiff did not respond to Defendant’s serially
numbered statement of undisputed facts, as required by Local Rule
7.2(d)(3)(“the opponent of a motion for summary judgment who
disputes any of the material facts upon which the proponent has
relied pursuant to subsection (2) above shall respond to the
proponent’s numbered designations, using the corresponding serial
numbering, both in the response and by affixing to the response
copies of the precise portions of the record relied upon to
evidence the opponent's contention that the proponent's
designated material facts are at issue.”). Rather, Plaintiff
included a two page narrative “Facts” section, in which Plaintiff
did not dispute the facts in Defendant's statement of undisputed
facts. Accordingly, the Court finds that Plaintiff does not
dispute the facts relied upon by Defendant in its motion.

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immediate supervisor, Donald Harchfield. (Id., Ex. 4, Dep. of
Donald Harchfield (“Harchfield Dep.”) at 23:1-9.) The note,
dated January S, 2003, is entitled “Certificate to Return to Work
or School” and states that “Benny Featherston is my patient and
has been in my care from 1-8-03 to l-9-O3 and is able to return
to work/school on l-lO-O3.” (Aff. of Pl., EX. l.) The document
is not signed by any physician, but rather is stamped with the
name and address of the May Medical Group. The certificate does
not indicate for what ailment Plaintiff was under a doctor's
care.

After Plaintiff presented Mr. Harchfield with the note, he
handed it back to Plaintiff. (Harchfield Dep. at 23:9.)
Plaintiff was then instructed not to punch his time card, and to
meet with Production Manager Ricky Ambrose, Mr. Harchfield's
supervisor, and Mr. Gray at 9:00 a.m. (Gray Aff. I 12.) Mr.
Harchfield testified at his deposition that he informed Mr.
Ambrose about Plaintiff’s having handing him the doctor’s note
some time within the next few days. (Harchfield Dep. at 25:18-
26:l2.)

According to Mr. Gray’s affidavit, during the January 13,
2003, meeting, Plaintiff stated that he was absent due to having
diarrhea on January 8 and 9 and did not provide any medical
documentation to support his absence. (Gray Aff. T 13.) The

parties appear to dispute whether Mr. Ambrose was aware that

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Plaintiff had handed Mr. Harchfield the doctor’s note on the
morning of January 13.2 Plaintiff does not contend or point to
any evidence in the record to show,r however, that the note was
presented either to Mr. Ambrose or Mr. Gray during the January
l3, 2003, meeting. On January l4, 2003, Mr. Gray called
Plaintiff to inform him that he had been terminated. (Gray Aff. I
15.)

According to Plaintiff’s Affidavit, Plaintiff was diagnosed
with a hernia on February 3, 2003, and underwent surgery for the
hernia on February ?, 2003. (Aff. of Pl.) lt is undisputed that
Plaintiff did not ever provide Charms with any notice of that
diagnosis or his surgery.

In May of 2003, Plaintiff filed for unemployment benefits
with the Tennessee Department of Workforce and Labor Development
and a telephone unemployment benefits hearing was held. After
that hearing, Mr. Gray was shown for the first timer by
Defendant’s legal counsel, medical documentation regarding

Plaintiff's illness that was presented at the unemployment

 

2 When asked during his deposition about whether Mr. Ambrose
knew that Plaintiff handed Mr. Harchfield a doctor's note during
the morning of January 13, 2003, Mr. Ambrose recalled being told
that Plaintiff had handed Mr. Harchfield a piece of paper, but
did not recall whether he was told that the paper Plaintiff
handed to Mr. Harchfield was a doctor's note. (Dep. of Ricky
Ambrose (“Ambrose Dep.”), attached as unnumbered exhibit to Pl.'s
Resp. to Def.'s Mot. for Summ. J. at 28:1-30:11.)

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benefits hearing.3 (Gray Aff. T l9.) That documentation included
Plaintiff’s January 8, 2003, doctor’s note. (Id.)

On June ll, 2003, an administrative hearing was held before
the Tennessee Department of Labor and Workforce Development to
determine whether Plaintiff was entitled to unemployment
compensation benefits subsequent to his termination from
employment with Defendant. The Appeals Tribunal entered the
following findings of fact:

Claimant’s most recent employment prior to filing this
claim was with Charms Co. from February 26, 1999 until
January 14, 2003, as a RLM operator. Claimant was
absent from work several days during 2002. Claimant
had doctor's excuses for all of his absences except
two. His last period of absence was from January ?,
2003 to January 9, 2003. Claimant brought a doctor’s
note to employer. Employer discharged the claimant on
January 14, 2003, for excessive absenteeism. Claimant
had surgery in February 2003. Claimant was unable to
perform work starting on February 3, 2003. Claimant
was released to return to work on May S, 2003.
Claimant filed a claim for unemployment benefits on
March 5, 2003.
(Decision of Appeals Tribunal, attached as unnumbered exhibit to
Pl.'s Mot. for Partial Summ. J.) The Appeals Tribunal found
Plaintiff eligible for unemployment benefits. (Id.) That
decision was upheld by the Board of Review of the Tennessee

Department of Labor and Workforce Development, which adopted the

facts found by the Appeals Tribunal. (Board of Review Decision,

 

3In his affidavit, Mr. Gray also notes that, over a month
after Plaintiff's termination, he learned for the first time from
other employees that Plaintiff had undergone surgery for a
hernia. (Gray Aff. l 18.)

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attached as unnumbered exhibit to Pl.'s Mot. for Partial Summ.

J.)
II. SUMMARY JUDGMENT STANDARD

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper "if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law." Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). 30 long as the
movant has met its initial burden of "demonstrat[ing] the absence
of a genuine issue of material fact," Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate, Emmons v. McLaughlin, 874 F.2d 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
"the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion."
Kochins v. Linden-Alimak, lnc., 799 F.2d 1128, 1133 (6th Cir.
1986); see also Matsushita Elec. lndus. Co. v. Zenith Radio
§Qrp;, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment, the nonmoving party "must set forth specific facts
showing that there is a genuine issue for trial." Fed. R. Civ.

P. 56(e); see also Abeita v. TransAmerica Mailinqs, Inc., 159

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F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial "if the evidence [presented by the nonmoving
party] is such that a reasonable jury could return a verdict for
the nonmoving party." Anderson v. Libertv Lobbv. lnc., 477 U.S.
242, 248 (1986). In essence, the inquiry is "whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law." ld; at 251-52.
III. Analysis

Both Defendant and Plaintiff have moved for summary judgment
in this case. The Court will analyze their motions in turn.

A. Defendant's Motion for Summary Judgment

Plaintiff contends that Defendant terminated his employment
in violation of the FMLA because his absences from work on
January 8 and 9, 2003, were due to a “serious health condition”
as defined by the FMLA and therefore he should have been allowed
to return to work following his illness. Defendant contends
that, at the time of his January absences, Plaintiff did not
suffer from a “serious health condition” and that, even if he
did, Plaintiff did not request leave or provide Defendant with
adequate notice of his need for leave due to a serious health

condition as required by the FMLA.

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1. FMLA Requirements
The FMLA requires employers to provide up to twelve

workweeks of leave “[b]ecause of a serious health condition that
makes the employee unable to perform the functions of the
position of such employee.” 29 U.S.C. § 2612(a)(l)(D). A
“serious health condition” is defined by the FMLA as “an illness,
injury, impairment, or physical or mental condition that involves

inpatient care in a hospital, hospice, or residential medical
care facility; or ... continuing treatment by a health care
provider. 29 U.S.C. § 2611(11). United States Department of
Labor regulations implementing the FMLA define a serious health
condition involving continuing medical treatment by a medical
provider as including “[a] period of incapacity (i.e., inability
to work, attend school or perform other regular daily activities
due to the serious health condition, treatment therefor, or
recovery therefrom) of more than three consecutive calendar days

.” 29 C.F.R. § 825.114. It is unlawful for an employer to
“interfere with, restrain, or deny the exercise of or the attempt
to exercise, any right provided” by the FMLA. 29 U.S.C. §
2615(a)(1).

When an employee’s need for FMLA leave is forseeable, an

employee who wishes to request leave under the FMLA must

generally provide thirty days’ notice to the employer. 29 U.S.C.

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§ 2612(e).'l When the need for FMLA leave is not forseeable, an
employee “should give notice to the employer of the need for FMLA
leave as soon as practicable under the facts and circumstances of
the particular case. lt is expected that an employee will give
notice to the employer within no more than one or two working
days of learning of the need for leave, except in extraordinary
circumstances where such notice is not feasible.” 29 C.F.R. §
825.303(a).
ln light of the FMLA and the relevant Department of Labor
Regulations implementing the statute, the United States Court of
Appeals for the Sixth Circuit has described the notice
requirement of the FMLA as follows:
To invoke the protection of the FMLA, an employee must
provide notice and a qualifying reason for requesting
the leave. However, an employee does not have to
expressly assert his right to take leave as a right
under the FMLA. Because an employee need not expressly
invoke the FMLA, the critical question is whether the
information imparted to the employer is sufficient to
reasonably apprise it of the employee’s request to take

time off for a serious health condition. An employee
gives his employer sufficient notice that he is

 

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Specifically, the FMLA requires that an employee:
shall provide the employer with not less than 30 days'
noticer before the date the leave is to begin, of the
employee’s intention to take leave under such
subparagraph, except that if the date of the treatment
requires leave to begin in less than 30 days, the
employee shall provide such notice as is practicable.
29 U.S.C. § 2612(e)(2)(B}. The employee need not expressly
mention the FMLA when requesting leave, but must convey to the
employer information reasonably adequate to apprise the employer
of the employee’s request to take leave for a serious health
condition. 29 C.F.R. § 825.302(c).

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requesting leave for an FMLA-qualifying condition when
he gives the employer enough information for the
employer to reasonably conclude that an event described
in the fFMLA] has occurred ... What is practicable,
both in terms of the timing of the notice and its
content, will depend upon the facts and circumstances
of each individual case.
Cavin v. Honda of America qu., lnc., 346 F.3d 713, 723-24 (6th
Cir. 2003)(citations and internal quotation marks omitted).
2. The Adequacy of Plaintiff's Notice to Defendant

lt is undisputed that Plaintiff did not specifically request
FMLA leave from Defendant. However, as noted above, Plaintiff is
not required to specifically mention the FMLA when requesting
leave. Plaintiff contends that furnishing a doctor’s note to his
supervisor, Don Harchfield, on the morning of January 13, 2003,
was sufficient to put Defendant on notice of his request for FMLA
leave. Defendant contends that Plaintiff was not, at the time
that note was presented, suffering a serious health condition and
that the presentation of the note was not sufficient notice of a
request for FMLA leave.

Drawing all inferences in favor of the Plaintiff, the Court
assumes that Defendant was aware of the substance of the January
8, 2003, certificate from May Medical Group, on January l3, 2003.
Nonetheless, the Court finds that Plaintiff's presentation of the
January 8, 2003, certificate was not sufficient to put Defendant

on notice of his need for FMLA leave due to a serious health

condition.

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The certificate states that Plaintiff was under a doctor's
care for only two days - January 8 and 9, 2003. The Department
of Labor regulations implementing the FMLA specify that in order
for an illness that does not result in inpatient medical care to
be considered a “serious health condition,” it must involve “[a]
period of incapacity (i.e., inability to work, attend school or
perform other regular daily activities due to the serious health
condition, treatment therefor, or recovery therefrom) of more
than three consecutive calendar davs....” 29 C.F.R. §
825.114(a)(2)(i}(emphasis added). As of January 13, 2003,
Defendant could only have known that Plaintiff had been absent
from work for two days due to an onset of diarrhea. That was
simply not “enough information for the employer to reasonably
conclude that an event described in the [FMLA] has occurred.”
gavin, 346 F.3d at 724.5

Plaintiff asserts that there exists a “genuine issue of
material fact as to whether the illness that resulted in his
termination was the result of {his later diagnosed hernia].”
However, even assuming that Plaintiff's hernia is a serious
health condition under the FMLA, Plaintiff points to no

admissible evidence in the record that could indicate that his

 

5 Plaintiff contends that Defendant failed to investigate
the cause of Plaintiff’s illness, however, Plaintiff fails to
point to sufficient facts in the record to establish that
Defendant had any reason, as of January 13, 2003, to investigate
whether Plaintiff was suffering from a serious health condition.

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January 8 and 9, 2003, absences were attributable to his hernia.6
Absent such evidence - the affidavit of Plaintiff’s physician,
for example - no reasonable juror could find that the absences
were attributable to a serious health condition and therefore
Plaintiff cannot establish, as a matter of law, that he put
Defendant on notice that he had a serious health condition that
qualified for leave under the FMLA.

Even assuming that Plaintiff's affidavit were sufficient to
link his January absences to his later diagnosed hernia, however,
it is undisputed that Plaintiff never provided Defendant with
notice of that diagnosis or of his surgery, let alone of any link

between his January absences and that diagnosis.j The Court

 

6 The only evidence to which Plaintiff points to link his
illness on January 8 and 9 to his hernia is his own affidavit,
which states: “l was under a doctor’s care for acute abdominal
pain on January 8 and 9, 2003 for what was later determined to be
a massive hernia. l was diagnosed with the hernia on February 3,
2003 and underwent surgery for the hernia on February 7, 2003.”
(Aff. of Pl.) Plaintiff, however, does not point to any evidence
that he had personal knowledge of a link between his abdominal
pain on January 8 and 9, and his hernia, or to any evidence in
the record of a diagnosis by a medical professional linking his
January 8 and 9 abdominal pain to his later diagnosed hernia.
Plaintiff’s statements regarding his diagnosis are inadmissible
as not within his personal knowledge under Federal Rule of
Evidence 602 and as hearsay under Federal Rule of Evidence 801
and 802 for which no exception applies pursuant to Federal Rule
of Evidence 803.

?Defendant first learned that Plaintiff had a hernia
operation by word of mouth approximately one month after he was
terminated, and only received notice of any medical documentation
regarding Plaintiff's operation subsequent to Plaintiff's May,
2003, unemployment benefits hearing.

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finds that Plaintiff's failure to provide Defendant with timely
notice of his later diagnosis and surgery prevented Defendant
from concluding that Plaintiff suffered from a serious health
condition that would require compliance with the FMLA. §ee
Brenneman v. MedCentral Health Svs., 366 F.3d 412, 423 (6th Cir.
2004)(finding employee did not give sufficient notice to employer
of need for FMLA leave where employee failed to notify employer
within one or two days that unforseeable absence was due to
serious health condition known to employee).8

The Court therefore finds that no genuine issues of material
fact exist regarding whether Plaintiff provided adequate notice
to Defendant of his asserted need for FMLA leave. Because
Plaintiff fails to point to sufficient evidence in the record to
show that adequate notice was provided, Defendant is entitled to
judgment as a matter of law. Accordingly, Defendant's motion for
summary judgment is GRANTED.

B. Plaintiff's Motion for Summary Judgment

ln his motion, Plaintiff contends that Defendant is

collaterally estopped from relitigating the factual issues

 

5 ln Brenneman, an employee missed a day of work due to a
diabetic episode, however, when he called in sick, he merely told
his employer that he “wasn't doing well and ... wouldn’t be in
today.” Brenneman, 366 F.3d at 423. The plaintiff in Brenneman
did not advise the employer that his absence was due to his
diabetes until five days after his absence. The Sixth Circuit
held that such untimely notice was inadequate under the
regulations implementing the FMLA. ld; at 423-24 (citations
omitted).

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determined by the Tennessee Department of Labor and Workforce
Development Appeals Tribunal in his unemployment benefits
hearing. ln determining the preclusive effect, if any, of a
state administrative agency determination, this Court looks to
state law. Nelson v. Jefferson Countv, Kentucky, 863 F.2d 18, 19
(6th Cir. 1989). Tennessee Code Annotated § 50-7-304(k) provides
that:
No finding of fact or law, judgment, conclusion, or
final order made with respect to a claim for
unemployment compensation under this chapter may be
conclusive in any separate or subsequent action or
proceeding in another forum, except proceedings under
this chapter, regardless of whether the prior action
was between the same or related parties or involved the
same facts.
Tenn. Code Ann. § 50-7-304(k). Accordingly, under Tennessee law,
neither the findings of the Unemployment Appeals Tribunal nor the
Board of Review have any preclusive affect on the parties. Even
if the findings could have a preclusive effect, however, the
findings themselves are irrelevant to this case because they
relate to the determination of whether Plaintiff was entitled to

unemployment benefits, not FMLA leave, and do not involve any

facts that are disputed in this case.9

 

9 Plaintiff cites a memorandum opinion by the Circuit Court

of Shelby County in contending that § 50~7-304 violates the
Separation of Powers Doctrine of the Tennessee Constitution.
(Memorandum Opinion and Order on Constitutionality of T.C.A. 50-
7-304(k), attached as exhibit to Pl.’s Mot. for Partial Summ. J.)
ln determining Tennessee law, however, federal district courts
look to the holdings of the Tennessee Supreme Court or to the
(continued...)

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IV. Conclusion

For the foregoing reasons, Defendant’s Motion for Summary
Judgment is GRANTED, Plaintiff’s Motion for Partial Summary
Judgment is DENIED, and Plaintiff's case is DlSMlSSED with

prejudice.

so eastern this {Q)th day ar May, 2005.

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(...continued)
Tennessee Court of Appeals. See Arnett v. Myers, 281 F.3d 552,
565 (6th Cir. 2002). State trial court decisions are not

regarded as setting precedent and therefore are not binding on
this Court's determination of Tennessee law. Bradlev v. General
Motors Corp., 512 F.2d 602, 605 (6th Cir. 1975). Plaintiff points
to, and the Court has found, no holding of the Tennessee Supreme
Court or Tennessee Court of Appeals finding that § 50-7-304(k) is
unconstitutional under Tennessee law. ln fact, at least two
decisions of the Tennessee Court of Appeals have enforced Tenn.
Code Ann. § 50-7-304(k) to deny the preclusive effect of findings
made pursuant to a claim for unemployment compensation. §ee
Mangrum v. Wal~Mart Stores, lnc., 950 S.W. 2d 33, 36-37 (Tenn.
Ct. App. 1997); Barnes v. Goodvearr No. W2000-01607-COA-RM-CV,
2001 WL 568033 at *5, n.1, (Tenn. Ct. App. May 25, 2001).
Accordingly, the Court finds Plaintiff’s argument to the contrary
unavailing.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02157 Was distributed by fax, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

